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                                             U.S. Department of Justice
                                             Civil Division, Appellate Staff
                                             950 Pennsylvania Ave. NW
                                             Washington, DC 20530

                                                             Tel: (202) 616-5446

                                             February 16, 2023

David J. Smith, Clerk of Court
U.S. Court of Appeals for the 11th Circuit
56 Forsyth St., NW
Atlanta, GA 30303

      RE: Health Freedom Defense Fund v. President of the United
          States, No. 22-11287 (oral argument held on Jan. 17, 2023)

Dear Mr. Smith:

       We write to inform the Court of developments that bear on the
mootness of this case. By its terms, the Centers for Disease Control and
Prevention’s transportation mask order will expire when the public health
emergency declaration expires. See Requirement for Persons To Wear
Masks While on Conveyances and at Transportation Hubs, 86 Fed. Reg.
8025, 8030 (Feb. 3, 2021) (providing that the mask order “will remain in
effect . . . until the Secretary of Health and Human Services rescinds the
determination under section 319 of the Public Health Service Act (42 U.S.C.
247d) that a public health emergency exists”).

     The Administration recently announced that the public health
emergency declaration is expected to expire on May 11, 2023. See
Executive Office of the President, Office of Mgmt. & Budget, Statement of
Administration Policy (Jan. 30, 2023), https://www.whitehouse.gov/wp-
content/uploads/2023/01/SAP-H.R.-382-H.J.-Res.-7.pdf; Department of
Health & Human Servs., Admin. for Strategic Preparedness & Response,
Renewal of Determination That a Public Health Emergency Exists (Feb. 9,
2023), https://aspr.hhs.gov/legal/PHE/Pages/COVID19-9Feb2023.aspx
(renewing determination that a public health emergency exists, effective
February 11, 2023, which will expire in 90 days, on May 11, 2023, unless
extended, see 42 U.S.C. § 247d(a)(2)).
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       We respectfully request the opportunity to brief issues of mootness at
that time.

                                   Sincerely,

                                   s/ Brian J. Springer
                                   Brian J. Springer
                                   U.S. Department of Justice
                                   Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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                   CERTIFICATE OF COMPLIANCE

     This letter complies with the type-volume limit of Federal Rule of
Appellate Procedure 28(j) because the body of the letter contains 205
words.


                                           s/ Brian J. Springer
                                          Brian J. Springer




                      CERTIFICATE OF SERVICE

      I hereby certify that on February 16, 2023, I electronically filed the
foregoing letter with the Clerk of the Court for the United States Court of
Appeals for the Eleventh Circuit by using the appellate CM/ECF system.
Participants in the case are registered CM/ECF users, and service will be
accomplished by the appellate CM/ECF system.


                                           s/ Brian J. Springer
                                          Brian J. Springer
